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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                      Debtors.1                        (Jointly Administered)



                  NOTICE OF FILING OF REVISED CONFIRMATION ORDER

          PLEASE TAKE NOTICE that on January 22, 2024, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Notice of Filing Order Confirming

Third Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors

[Docket No. 1173] (the “Proposed Confirmation Order”).

          PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is revised

version of the Proposed Confirmation Order. Attached hereto as Exhibit B is a redline of the

revised Proposed Confirmation Order showing changes against the original form of the Proposed

Confirmation Order.

          PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to materially

alter, amend, or modify the Proposed Confirmation Order at any time prior to the Confirmation

Hearing. The Debtors intend to present a form of the Proposed Confirmation Order (subject to

any modifications and/or amendments) to the Bankruptcy Court at the Confirmation Hearing.




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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
    of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville,
    CA 94608.
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 Dated: January 23, 2024                    PACHULSKI STANG ZIEHL & JONES LLP

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